      Case 3:12-cv-02549-MWB Document 124 Filed 11/21/14 Page 1 of 3



              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GENTEX CORPORATION,                             NO.: 2012-CV-2549
                                                (JUDGE BRANN)
                    Plaintiff,

              v.

RONALD ABBOTT,                                  ELECTRONICALLY FILED
HELICOPTERHELMET.COM
and HELICOPTER HELMET
LLC,

                    Defendants.



   DEFENDANT RONALD ABBOTT'S SUPPLEMENT TO DISCOVERY
    MOTIONS (ECF 95-100 AND ECF 115-118) IN VIEW OF GENTEX
           COPRORATION'S OPPOSITION (ECF 119)



      Ronald Abbott, by undersigned counsel, supplies the following two items

that are relevant to arguments made by Gentex Corporation in its Opposition Brief

(ECF 119) at (at least) p. 3, n. 4; pp. 11-12; p. 15, n. 11; and p. 18, n. 13:

       1.    Memorandum and Order by Hon. Kiyo A. Matsumoto, U.S.D.J., in

Gentex Corporation v. Ronald Abbott, et al., No. 14-mc-1247 (KAM) (E.D. N.Y.

Nov. 21, 2014) (Exh. EE hereto); and

      2.     Email dated January 28, 2014, by Bruce J. Chasan to Daniel T. Brier

and Donna Walsh (Exh. FF hereto). In this email, Abbott calls the Court's


                                            1
      Case 3:12-cv-02549-MWB Document 124 Filed 11/21/14 Page 2 of 3



attention to item 3, which states: "We agreed that post-complaint written

communications between counsel and their clients need not be listed on a privilege

log." This differs materially from the statement attributed to Attorney Chasan in

the fourth sentence of n. 11 in Gentex' s brief.

                                 Respectfully submitted,

                                 LAW OFFICES OF BRUCE J. CHASAN

                                 /s/ Bruce J. Chasan

                                 Bruce J. Chasan (PA I.D. No. 29227)
                                 Two Penn Center- Suite 312
                                 1500 JFK Boulevard
                                 Philadelphia, P A 19102
                                 Phone: (215) 567-4400
                                 Fax: (215) 565-2882
                                 Email:       bjchasan@brucechasanlaw.com

Dated: November 21, 2014          One of the Attorneys for Defendant Ronald Abbott




                                       ·2-
      Case 3:12-cv-02549-MWB Document 124 Filed 11/21/14 Page 3 of 3



                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

GENTEX CORPORATION,                               NO.: 2012-CV-2549
                                                  (JUDGE BRANN)
                     Plaintiff,

v.

RONALD ABBOTT,
HELICOPTERHELMET.COM and
HELICOPTER HELMET LLC,

                     Defendants.




                                  CERTIFICATE OF SERVICE



This is to certify that I have this 21st day ofNovember, 2014 served a copy of the foregoing
Defendant Ronald Abbott's Supplement to Discovery Motions (ECF 95-100 and ECF 115-
118) in View ofGentex Corproation's Opposition (ECF 119) upon all counsel of record by
the Court's ECF filing system:

Daniel T. Brier, Esquire
Donna A. Walsh, Esquire
Michael J. Asbell, Esquire
Myers Brier & Kelly, LLP
Post Office Box 551
Scranton, Pennsylvania 18501


Edward T. Fenno, Esquire                    Eric N. Mahler, Esquire.
Christina B. Humphries, Esquire             Kelly M. Ciravolo, Esquire
Fenno law Firm LLC                          Mahler Law Firm, LLC
171 Church Street, Suite 160                575 Pierce Street, Suite 501
Charleston, SC 29401                        Kingston, P A 191 02



                                        Is/ Bruce J. Chasan

                                        Attorney for Defendant Ronald Abbott



                                          -3-
